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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:03CR353

STEVEN R. BRASUHN                                      Dft’s U.S. Marshal No.: 18817-047
                Defendant
                                                       Ernest H. Addison, Jr.

                                                       Defendant’s Attorney
___________________________________

                          AMENDED JUDGMENT IN A CRIMINAL CASE
                       (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: 03/03/2004
(Or Date of Last Amended Judgment)
Reason for Amendment:
       Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to counts I & III of the Indictment on December 9, 2003.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offenses:

                                                                Date Offense             Count
     Title & Section             Nature of Offense               Concluded              Numbers


 21:846                    Conspiracy to manufacture            July 16, 2003               I
                           methamphetamine

 21:853                    Forfeiture                           July 16, 2003              III

The Defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count II of the Indictment is dismissed on the motion of the United States as to this Defendant only.

Final order of forfeiture as to Count III entered on June 2, 2004.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                       April 25, 2005

                                                       s/Laurie Smith Camp
                                                       United States District Judge
                                                       April 26, 2005
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 33 months.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the Defendant participate in the 500-hour Comprehensive Drug Treatment Program
        or any similar drug treatment program available.

2.      That the Defendant be incarcerated in a federal facility as close to Omaha, Nebraska as
        possible.

3.      Defendant shall be given credit for time served.

                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                   SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 3
years.

The Defendant shall report to the probation office in the district to which the Defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The Defendant shall refrain from any unlawful use of a controlled substance. The Defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised
release that the Defendant pay any such fine or restitution that remains unpaid at the
commencement of the term of supervised release in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

The Defendant shall comply with the standard conditions that have been adopted by this Court (set
forth below). The Defendant shall also comply with any additional conditions.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The Defendant shall not leave the judicial district without the permission of the Court or
        probation officer;
2.      The Defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The Defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The Defendant shall support his or her dependents and meet other family responsibilities;
5.      The Defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The Defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The Defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The Defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The Defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
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11.     The Defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The Defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the Court;
13.     As directed by the probation officer, the Defendant shall notify third parties of risks that may
        be occasioned by the Defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the Defendant’s
        compliance with such notification requirement.

                               SPECIAL CONDITIONS OF SUPERVISION


1.      Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
        from excessive use of alcohol, the Defendant shall not purchase or possess, use, distribute or
        administer any alcohol, just the same as any other narcotic or controlled substance.

2.      The Defendant shall cooperate in the collection of a DNA sample at the direction of the probation
        officer, pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice
        for All Act of 2004), if such sample was not collected during imprisonment.

3.      Defendant shall be subject to the search of the Defendant’s premises, vehicle or person, day or night,
        with or without a warrant, at the request of the U.S. Probation Officer to determine the presence of
        alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
        be seized by the U.S. Probation Officer. This condition may be invoked with or without the
        cooperation of law enforcement officers.

4.      The Defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
        or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
        substance abuse, as directed by the U.S. Probation Officer.

5.      Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
        Officer.

6.      Defendant shall provide the U.S. Probation Officer with access to any requested financial information.

7.      Pursuant to 18 U.S.C. § 3583 (d), Defendant shall submit to a drug test within fifteen (15) days of
        release on Supervised Release and at least two (2) periodic drug tests thereafter to determine
        whether the Defendant is using a controlled substance. Further, Defendant shall submit to such
        testing as requested by any U.S. Probation Officer to detect the presence of alcohol or controlled
        substances in the Defendant’s body fluids and to determine whether the Defendant has used any of
        those substances. Based on the Defendant’s ability to pay, Defendant shall pay for the collection of
        urine samples to be tested for the presence of alcohol and/or controlled substances in an amount to
        be determined by the probation officer.

8.      Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
        between the hours of 8:00am and 4:30pm, 111 South 18th Plaza, Suite C79, Omaha Nebraska, (402)
        661-7555, within seventy-two (72) hours of release from confinement.
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                               CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                     Total Fine                 Total Restitution

             $100.00



The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that:

        interest requirement is waived.



                                              FINE

        No fine imposed.

                                          RESTITUTION

        No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS

Having assessed the Defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:


        The Defendant shall pay the special assessment in the amount of $100, balance of $50
due.

Unless the Court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
Court, unless otherwise directed by the Court, the probation officer or the United States attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, 111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the Court. In the event a Defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and
(8) costs, including cost of prosecution and Court costs. T he Def endant shall f orf eit the
Defendant’s interest in the following property to the United States:

                                  $572.00 in U.S. Currency



CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
